                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF MASSACHUSETTS

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- - - - - - FREDRICKS,
ALISSA                                                       :

                              Plaintiff,                    :      Civil Action
                                                                   No. 19-10331-JGD
                    v.                                      :

MARKEL CATCO INVESTMENT                                     :
MANAGEMENT LTD. AND MARKEL
CORP.,                                                      :

                               Defendants.                   :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
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                                 DEFENDANT MARKEL CORPORATION'S
                                 CORPORATE DISCLOSURE STATEMENT

                    Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure, the undersigned

counsel for Defendant Markel Corporation ("Markel") hereby certifies that Markel has no parent

company, and no publicly-held corporation owns 10% or more of its stock.

Dated: March 19, 2019                                           Respectfully submitted,
       Boston, Massachusetts
                                                                /s/ James R. Carroll
                                                                James R. Carroll (BBO #554426)
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                                                                Management Ltd. and Markel Corporation
